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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                               Plaintiff,

v.                                                    CRIMINAL ACTION NO. 2:09-cr-00223

TOMMY EDWARD YOUNG SR. and
TOMMY EDWARD YOUNG JR.,

                               Defendants.



                          MEMORANDUM OPINION AND ORDER

       Pending before the Court are numerous objections to the Presentence Investigation Reports

(PSRs) for Defendant Tommy Young Sr. (Young Sr.) and Defendant Tommy Young Jr. (Young Jr.).

The purpose of this Memorandum Opinion is to set forth the Court’s findings regarding these

objections.

                                            I. BACKGROUND

       On October 1, 2009, Young Sr. and Young Sr. were charged in a seven-count indictment

with violations of federal law relating to the interstate transportation, receipt, and sale of stolen

property. Young Sr. was named in all seven counts, and Young Jr. was named in Counts One, Four,

Six, and Seven. The Court conducted a jury trial in the above-styled case from March 2, 2010, to

March 8, 2010. On March 8, 2010, the jury returned a verdict of guilty for Young Sr. on Counts

One, Two, Three, Four, Five, and Six of the Indictment, and a verdict of guilty for Young Jr. on

Counts One, Four, and Six of the Indictment. Specifically, the jury found Young Sr. and Young Jr.

guilty of engaging in a conspiracy to receive, possess, transport, conceal, and sell stolen property,
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including motor vehicles, in violation of 18 U.S.C. § 371 as charged in Count One; Young Sr. guilty

of interstate transportation of a stolen motor vehicle in violation of 18 U.S.C. §§ 2312 and 2 as

charged in Count Two; Young Sr. of possession of stolen goods in violation of 18 U.S.C. § 2315 as

charged in Count Three; Young Sr. and Young Jr. of possession of a stolen motor vehicle in

violation of 18 U.S.C. §§ 2313 and 2 as charged in Count Four; Young Sr. of interstate

transportation of a stolen motor vehicle in violation of 18 U.S.C. §§ 2312 and 2 as charged in Count

Five; and Young Sr. and Young Jr. of interstate transportation of a stolen motor vehicle in violation

of 18 U.S.C. §§ 2312 and 2 as charged in Count Six. Young Sr. and Young Jr. were acquitted of the

charge of possession of a stolen motor vehicle in violation of 18 U.S.C. §§ 2313 and 2 contained in

Count Seven.

       On March 9, 2010, the Court entered separate Judgment Orders for Young Sr. and Young

Jr., directing the Probation Office to submit draft PSRs to the Government and counsel for Young

Sr. and Young Jr. by May 26, 2010. (Dockets 134 & 135.) On June 1, 2010, the Court continued

the sentencing hearings and directed the Probation Office to submit draft PSRs to counsel by July

7, 2010. (Dockets 147 & 148.) The Probation Office timely submitted the PSRs, and Young Sr. and

Young Jr. timely filed objections. All parties timely filed Sentencing Memoranda. (Dockets161,

164, 165, & 166.) The Probation Office finalized the PSRs on August 19th (Young Jr.) and 26th

(Young Sr.), 2010, and revised them on November 10, 2010. On November 26, 2010, the

Government filed a Supplemental Sentencing Memorandum that details valuations of loss that it

offers “in lieu” of several amounts currently listed in the PSR. (Docket 179 at 1.) On December 21,

2010, the Government submitted a new objection to each PSR’s calculation of Young Sr.’s and

Young Jr.’s criminal history points. Both Defendants concur with this objection.


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        Currently, Young Sr.,1 Young Jr.,2 and the Government have numerous outstanding

objections to the PSRs. The Court heard oral argument on these issues on December 22, 2010. The

matter is now ripe for the Court’s consideration.

                                          II. DISCUSSION

        A. Loss Determination

        First and foremost, Young Sr. and Young Jr. object to the Probation Office’s calculation of

the amount of loss incurred by their criminal conduct. Young Sr. and Young Jr. share a base offense

level of six pursuant to U.S.S.G. § 2B1.1(a), and the “specific offense characteristic” provision of

U.S.S.G. § 2B1.1(b) increases their offense level dependent upon the amount of loss attributable to

their conduct. U.S. Sentencing Guidelines Manual § 2B1.1(b) (2010). The Probation Office

suggests that the amount of loss attributable to Young Sr. is $549, 261.18, and the amount of loss

attributable to Young Jr. is $468, 769.18. As these amounts are greater than $400,000.00 but less

than $1,000,000, they result in a fourteen-level increase for both Defendants. U.S.S.G. §

2B1.1(b)(1)(H). Young Sr. and Young Jr. argue generally that the Government’s evidence

establishing the quantities of loss is unreliable.

        The Government must establish the amount of loss involved in the conspiracy and

attributable to each defendant by a preponderance of the evidence. United States v. Miller, 316 F.3d


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  Young Sr. makes several general objections to the entirety of his PSR based upon his continued
assertions of innocence. Given the jury’s verdict, these objections are OVERRULED. Young Sr.
also asserts numerous factual objections to the PSR, and is advised that, to the extent these
objections are not addressed in this Opinion, the disputed factual issues will not affect sentencing.
Fed. R. Crim. P. 32(c)(1).
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  Counsel for Young Jr. indicated at the December 22, 2010, hearing that she wished to adopt
Young Sr.’s arguments. To the extent applicable, the Court assumes an objection by Young Jr. to
the portions of the PSRs that both Defendants share.

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495, 503 (4th Cir. 2003); United States v. White, No. 03-4249, 2003 WL 22332377, at *3-4 (4th Cir.

Oct. 14, 2003) (per curiam). “Loss” can be measured by either “actual loss” or “intended loss,”

whichever is greater. U.S.S.G. § 2B1.1 cmt. n.3(A). “Actual loss” is the pecuniary harm that a

defendant knew or should have known was a potential result of the offense. U.S.S.G. § 2B1.1 cmt.

n.3(A)(i), (iii-iv). “Intended loss” is the pecuniary harm that a defendant intended to result from

the offense. U.S.S.G. § 2B1.1 cmt. n.3(A)(ii).

       The attributable amount of loss is derived from each defendant’s “relevant conduct.”

U.S.S.G. § 1B1.3(a); see also White, 2003 WL 22332377, at *3. “Relevant conduct” includes “all

acts and omissions committed, aided, abetted, counseled, commanded, induced, procured, or

willfully caused by the defendant,” and “all reasonably foreseeable acts and omissions of others in

furtherance of the jointly undertaken criminal activity” that occurred during the offense. U.S.S.G.

§ 1B1.3(a)(1). A “jointly undertaken criminal activity” is defined as “a criminal plan, scheme,

endeavor, or enterprise undertaken by the defendant in concert with others, whether or not charged

as a conspiracy.” U.S.S.G. § 1B1.3(a)(1)(B). Thus, a defendant is liable in relevant conduct for all

of his own acts as well as the acts of his co-conspirators that are “[1] within the scope of the

defendant’s agreement and . . . [2] reasonably foreseeable to the defendant.” United States v.

Gilliam, 987 F.2d 1009, 1012-13 (4th Cir. 1993).

       The Court “need only make a reasonable estimate of the loss. . . . based on available

information.” U.S.S.G. § 2B1.1 cmt. n.3(C); see also Miller, 316 F.3d at 503. Pertinent factors for

the Court’s consideration include “[t]he fair market value of the property unlawfully taken, copied,

or destroyed,” “the cost to the victim of replacing that property,” “[t]he cost of repairs to the

damaged property,” “[t]he approximate number of victims multiplied by the average loss to each


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victim,” and “[m]ore general factors, such as the scope and duration of the offense.” U.S.S.G. §

2B1.1 cmt. n.3(C). A district court has “considerable flexibility” in determining loss, United States

v. Seals, No. 91-5604, 1992 WL 49185, at *3 (4th Cir. March 17, 1992) (per curiam), and “may

consider relevant information without regard to its admissibility under the rules of evidence at trial,

provided that the information has the sufficient indicia of reliability to support its probable

accuracy.” U.S.S.G. § 6A1.3(a); see also 18 U.S.C. § 3661.

               (1) Government’s Calculation of Loss Quantity

       The relevant conduct in this case can be divided into two separate categories: (1) the stolen

items specifically named in the Indictment, and (2) the additional stolen items seized from the

properties of the Youngs and the named co-conspirators Dennis Marcum and Jay Summerfield.

       The first category of attributable loss lies in the offense conduct of the counts of conviction.

The Probation Office drew these loss amounts directly from the values of the stolen property that

were listed in the counts of the Indictment itself. The Government suggests in its November 26,

2010, Supplemental Sentencing Memorandum that the Court should instead rely upon the testimony

elicited at trial concerning the value of these items. (Docket 179 at 1.) The Court agrees. The jury

was not called upon to make a specific finding as to the value of the items named in the Indictment,

and as such the Court must make an independent determination at sentencing. For this category of

relevant conduct, the Government’s evidence consists of the testimony and evidence that was

presented at trial. This evidence includes owners’ estimations of the value of their stolen item at the

time it was taken, retailers’ testimony as to the wholesale or retail prices of their new stolen items,

and testimony concerning insurance settlements for the stolen items.




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        As for the second category of attributable loss, at the December 22, 2010, hearing in this

matter, the Government provided as exhibits three itemized lists of valuations for the items seized

from the Young, Summerfield, and Marcum properties. (Docket 185 at 2, 4, 6). Special Agent Jack

Remaley (SA Remaley) of the Federal Bureau of Investigation testified that the sums offered by the

Government were primarily derived from information contained in the police reports prepared for

the stolen items as well as the supporting documentation for those reports, which were compiled

with the assistance of numerous police and sheriff’s departments. SA Remaley further testified that

the National Insurance Crimes Bureau had assisted with these valuations. Where new items had

been stolen from retail lots, SA Remaley testified that the values listed in the police reports were the

retail values of the stolen item. Where used items had been stolen from owners, SA Remaley

testified that the value in the police report was either the insurance settlement for the stolen item or

the owner’s own estimation of the value of their stolen item at the time it was taken.

        Once again, the Guidelines do not demand absolute precision in loss calculations. U.S.S.G.

§ 2B1.1 cmt. n.3(C) (“The court need only make a reasonable estimate of the loss. . . based on

available information.”). The Government has essentially presented two categories of evidence to

support their estimations in this case. First, the Government offers values based upon police

reports, police documentation, and insurance information. Notably, in a case remarkably similar to

the one at bar, the Fourth Circuit affirmed a district court’s reliance on “the amount of loss [in] the

presentence report which calculated the value of the stolen machines based on insurance and police

reports provided by the FBI” when determining the amount of loss in a case involving stolen heavy

equipment. United States v. Schulte, No. 96-4578, 1998 WL 77851, at *3 (4th Cir. Feb. 24, 1998)

(per curiam). Second, the Government has offered the testimony of witnesses concerning the value


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of their stolen items. To the extent that the owners and employees of retail outlets have testified as

to the “sticker” or “wholesale” price of their stolen goods, the Court has no hesitation in crediting

these estimates. See Seals, 1992 WL 49185, at *3 (“In evaluating losses to retail outlets it is

reasonable to measure fair market value in terms of the retail value of the goods, as the district court

did in this case.”). Further, the non-retail owners of the stolen goods who testified in this case were

generally people with a great deal of experience with construction equipment; pertinent examples

include an industrial pipe-fitting company, various construction companies, and a farmer.

Moreover, counsel for Defendants had a full opportunity to cross-examine every witness that has

testified as to the value of their stolen items. As described in more detail in the discussion of the

specific testimony below, the Court finds that the statements of the lay witnesses in this case contain

sufficient “indicia of reliability” to serve as reliable estimates of their loss. U.S.S.G. § 6A1.3(a).

       Although it does not diminish the Government’s burden in any sense, the Court would also

emphasize that, at the evidentiary hearing in this matter, counsel for Defendants declined to utilize

an expert or offer any competing testimony or evidence concerning the value of these items. See

generally United States v. Marshall, Nos. 89-5411, 89-54143, 1990 WL 2270, at *3 (4th Cir. Jan.11,

1990) (per curiam) (holding that the government had satisfied its burden of proving an aggravating

sentencing factor where it submitted an unverified police report and defendant did not submit any

evidence to contradict that report). Quite literally, the “available information” with which the Court

is to make its findings consists only of the information provided by the Government and Probation

Office. U.S.S.G. § 2B1.1 cmt. n.3(C).

       Given the sheer volume of information in this case, the Court’s analysis of the relevant

conduct will proceed in two steps. First, the Court will separately address both categories of


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relevant conduct, summarize the available evidence of value, and determine whether the

Government has established by a preponderance of the evidence the corresponding amount of loss

attributable to the conspiracy, noting where the evidence supports a finding of either Young Sr. or

Young Jr.’s direct involvement with a particular item. Second, as “a defendant’s relevant conduct

may not extend to all the conduct of the conspiracy,” the Court will conduct an individualized

examination of the appropriate attribution of the stolen items to each Defendant. United States v.

Newsome, 322 F.3d 328, 339 (4th Cir. 2003).

               (2) Indictment Losses

       What follows is a summation of the trial testimony supporting a loss valuation for the item

described in each overt act charged in the conspiracy, excluding Overt Act (j) and Count Seven.3

Overlap with the substantive counts as well as the defendant named in each charge is noted. Where

testimony indicated even a slight range of values, the Court attributes the lowest amount supported

by the testimony to the pertinent Defendants’ conduct.

                       a. Overt Act (a) (Sr. & Jr.)

       As part of the Count One conspiracy, the Indictment charged Young Sr. and Young Jr. with

the overt act of knowingly possessing and selling a stolen New Holland Model 190 skid steer with

an attachment. The skid steer was stolen on June 26, 2003, from Mark Stine, a sawmiller and beef

farmer located in Cumberland, Ohio. Stine testified at trial that the skid steer was a 2003 model with

approximately 200 hours, which was “very low.” (Docket 152 at 47.) He testified that he purchased




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  A discussion of the acquitted conduct charged as Overt Act (j) and substantive Count Seven is
grouped with the analysis of the relevant conduct stemming from the search of Dennis Marcum’s
farm.

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it for $35,000.00 from Ross Equipment, (Id. at 47), at which time he also purchased a “true sheerer”

attachment for it at an additional cost of “$10,000 to $12,000.” (Id. at 48.)

        Although there is no way to know if the jury relied on this particular overt act when it

convicted Young Sr. and Young Jr. of the conspiracy charge, testimony at trial established that

Young Sr. and Young Jr. were together when they sold the stolen skid steer to William Bishop. As

such, the Court finds it appropriate to attribute this item to both Defendants as a part of their direct

participation in the conspiracy. U.S.S.G. § 1B1.3(a)(1)(A). Mr. Stine’s recollection of the recent

purchase price of the stolen item, as well as its “good” condition and “low” mileage, (Docket 152

at 47), provides an objective measure for the fair market value of the skid steer. Accordingly, the

Court finds that $45,000 is a reasonable estimate of value of this item.4

                        b. Overt Act (b) (Sr.)

        As part of the Count One conspiracy, the Indictment charged Young Sr. with the overt act

of knowingly possessing and selling a stolen 2000 Takeuchi excavator. The excavator was stolen

on March 26, 2004, from the equipment rental company United Rentals. Mark Warren, an employee

at United Rentals, testified that the “book value” of the excavator at the time it was stolen was

approximately $32,000 to $33,000. (Docket 152 at 108.) In support, Warren noted that United

Rentals paid a $10,000 deductible in insurance and their self-run insurance plan incurred an

additional $22,000 to $23,000 liability as a result of the theft. (Id. at 107.)



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 Although some amount of depreciation inevitably occurred between when the item was purchased
and when it was stolen, the Court has only been provided with the retail value and has been given
no basis to calculate depreciation. Given that the item was relatively new, the $45,000 figure
provides, at the very least, a reasonable estimate of what the item was likely worth. As any value
difference caused by the depreciation of this item would be inconsequential to the guideline
calculations, the Court finds that a more specific figure is not necessary in this case.

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        Again, there is no way to determine whether the jury relied on this overt act, but testimony

at trial established that Young Sr. sold the stolen excavator to Dana Holcomb soon after it had been

stolen, and it is thus properly considered as a part of Young Sr.’s direct participation in the

conspiracy. U.S.S.G. § 1B1.3(a)(1)(A). Warren’s testimony as to the “book value” of this used item,

as well as his description of the insurance deductibles and payments, establishes $32,000 as an

appropriate estimation of the fair market value of this item.

                           c. Overt Act (c) (Substantive Count Two) (Sr.)

        Charged as both an overt act of the conspiracy and substantively as Count Two, the jury

convicted Young Sr. of knowingly transporting in interstate commerce a stolen Caterpillar Model

227 skid steer. The skid steer was stolen on April 15, 2005, from a construction site owned by

Peterson Contractors. Donald Garaventa, a supervisor on the site, testified at trial that the skid steer

was in “very good condition” and was worth “47, 285.00 at the time” that it was stolen. (Docket 153

at 57.) On cross, counsel for Young Jr. elicited testimony that Garaventa’s valuation information

was based on what “the [Peterson Contractors] office told him.” (Id. at 63.) On redirect, the

Government confirmed that Gaventa had “dealt with a lot of equipment,” and he answered

affirmatively the government’s question of whether “$47,000 [was] a fair value” for the cost of the

skid steer. (Id. at 65.)

        Garaventa testified that he worked with this type of equipment on a day-to-day basis, had

discussed the value of the stolen skid steer with his company, and believed that “47,000” was a “fair

value” for the item. Accordingly, the Court finds that it is appropriate to attribute $47,000 for this

piece of equipment to Young Sr.’s relevant conduct. U.S.S.G. § 1B1.3(a)(1)(A).




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                       d. Overt Acts (d & e) (Substantive Count Three) (Sr.)

       Charged as both an overt act of the conspiracy and substantively as Count Three, the jury

convicted Young Sr. of possessing stolen goods, specifically a “Haulin brand enclosed trailer with

equipment and other goods.” (Docket 1 at 4, 7.) The trailer and other items were stolen from

Speciality Fitters, an industrial piping company, on July 8, 2005. Cornell Mentor, the president of

the company, testified that the total value of the stolen trailer and accompanying items was $36,000

at the time it was stolen. (Docket 153 at 96.) Mentor also offered testimony concerning the

deductible the company had to pay and the eventual insurance settlement that it received. (Id. at 95.)

This valuation was further supported by the inventory sheet of Speciality Fitters offered into

evidence. (Id. at 93; Gov’t Trial Exh. 16.) Given the testimony and evidence offered in support of

this unambiguous estimation, the Court finds that a value of $36,000 is appropriately applied to

Young Sr. as the fair market value of these items. U.S.S.G. § 1B1.3(a)(1)(A).

                       e. Overt Act (f) (Substantive Count Four) (Sr. & Jr.)

       Charged as both an overt act of the conspiracy and substantively as Count Four, the jury

convicted Young Sr. and Young Jr. of possessing a stolen motor vehicle, specifically a “Bobcat Mini

Excavator.” (Docket 1 at 4, 8.) The excavator, which was approximately three years old and in

“good” condition, was stolen from a construction site utilized by Dale Yost Construction between

March 5th and 6th of 2006. (Docket 153 at 170-71.) Robert Yost, the son of the owner, testified that

the Mini Excavator was worth “[p]robably around $30,000” at the time it was stolen. Yost later said

that his estimation of value was based upon the information provided to him by an equipment

supplier, D.H. Pace, Co., as to “what they thought the values were at that time based on the number




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hours and the amount of years that we had the equipment,” which he had requested for insurance

purposes. (Docket 153 at 176.)

       Yost testified that he regularly worked with heavy construction equipment, was familiar with

the item at issue, and had conferred with a retailer as to the fair market value of the used item at the

time it was stolen. As such, the Court finds that it is appropriate to attribute $30,000 for the stolen

excavator to Young Sr. and Young Jr. U.S.S.G. § 1B1.3(a)(1)(A).

                       f. Overt Act (g) (Substantive Count Five) (Sr.)

       Charged as both an overt act of the conspiracy and substantively as Count Five, the jury

convicted Young Sr. of the interstate transportation of a stolen motor vehicle, specifically a New

Holland skid steer loader. (Docket 1 at 4, 9.) The skid steer loader was stolen from Frances A.

Puster of Ashland County, Ohio, on March 6, 2008. (Docket 154 at 142.) Ms. Puster testified that

she received an insurance settlement of $9,658.00 for the theft, and information regarding her claim

was submitted into evidence. (Id. at 144; Gov’t Trial Exh. 51.) The Court finds that the insurance

settlement is conclusive proof of the value of the stolen item. Although Young Jr. was not named

in this count, the Court credits Jay Summerfield’s testimony that he, along with “Dean Hartsel,

Tommy Young Sr., and Tommy Young, Jr,” stole this item, (Docket 153 at 199), testimony which

is corroborated by Dean Hartsel. (Docket 154 at 94.) The value of the skid steer loader should thus

be attributed to both Young Sr. and Young Jr. as a part of their direct participation in the conspiracy.

U.S.S.G. § 1B1.3(a)(1)(A).

                       g. Overt Act (h) (Sr. & Jr.)

       As part of the conspiracy charged in Count One, the Indictment charged Young Sr. and

Young Jr. with the overt act of knowingly transporting a stolen good across state lines, specifically


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a 2007 Liberty tandem axle trailer “with a value of approximately $5,000.” (Docket 1 at 4-5.) The

Liberty trailer was stolen on either April 5, 2008, or May 5, 2008,5 from Raymond Mills of Gilead,

Morrow County, Ohio. Mills did not testify as to the value of the trailer at trial. At the December

22, 2010, evidentiary hearing in this matter, the Government provided an exhibit confirming the

$5,000 sum listed in the Indictment. (Docket 185 at 3.) Agent Jack Remaley testified that this

figure came from the police report, and he implied that the $5,000 sum may have included an

“invention” of Mills’ that was stolen with the trailer. The testimony on this point is unclear;

however, even if Mills included the value of the invention in the police report of the stolen trailer,

the Court will not dismiss his valuation. Mills testified at trial that he was a self-employed designer

of miniature rigs for the oil and gas business, (Docket 154 at 147), and the item stolen with the

trailer was created pursuant to this business. As such, Mills is in a position to place a reasonable

estimate as to the fair market value of this item, and the Court will credit his estimate.

       Although there is no way to determine whether the jury relied on this overt act, the evidence

presented at trial established that the trailer was found on the property utilized by co-conspirator Jay

Summerfield, who also testified that he had received the trailer with the drilling attachment from

Young Sr. and Young Jr. (Docket 153 at 208-210.) The reasonable estimate of $5,000 for the value

of the trailer is thus properly considered as a part of Young Sr.’s and Young Jr.’s direct participation

in the conspiracy. U.S.S.G. § 1B1.3(a)(1)(A).




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 The Court notes there is some confusion on this issue; after referencing the police report that he
had filed, Mills testified at trial that the trailer was stolen on April 5, 2008. (Docket 154 at 155.)
However, the summation sheets provided to the Court list a date of May 5, 2008.

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                       h. Overt Act (i) (Substantive Count Six) (Sr. & Jr.)

       Charged as both an overt act of the conspiracy and substantively as Count Six, the jury

convicted Young Sr. and Young Jr. of the interstate transportation of a stolen motor vehicle,

specifically a “Kubota B26 tractor with loader and backhoe.” (Docket 1 at 5, 10.) These items were

stolen from the retail lot of Hurst Tractor in Washington County, Ohio, on May 9, 2008. Kirk James

Warner, an employee of Hurst Tractor, testified at trial that the equipment was new and had recently

been purchased from Kubota Tractor Corporation (Docket 154 at 164; Gov’t Trial Exh. 54.) The

invoices from the Kubota Tractor Corporation contained the wholesale values of each item stolen

on May 9, 2008: the tractor invoiced at $14,454, the loader for $3,960, the backhoe at $6,125.00.

(Docket 154 at 166, Gov’t Trial Exh. 54.) The total value of stolen items is thus $24, 539.

       Just as retail price is an appropriate measure for a new item stolen from a retail outlet, the

wholesale price articulated by Warner and supported by the evidence is also a reasonable measure

of value for these items. As such, the Court adopts the above values of the stolen items as

appropriate measures of the loss stemming from this Count, and attributes the value to Young Sr.’s

and Young Jr.’s relevant conduct for their direct participation in the conspiracy. U.S.S.G. §

1B1.3(a)(1)(A).

                       i. Conclusions

       The “total loss” flowing from the offense conduct constituting the counts of conviction can

thus be articulated as follows:




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                                        Indicted Conduct
 Overt Act /        Item              Value           Date         Victim            Direct
 Count                                                Stolen                         Participation
 Overt Act (a)      New Holland       $45,000         06/26/2003    Mark Stine       Sr. & Jr.
                    190 Skid Steer
                    with
                    attachment
 Overt Act (b)      2000 Takeuchi     $32,000         03/26/2004   United            Sr.
                    Excavator                                      Rentals
 Overt Act (c)      Caterpillar 227   $47,000         04/15/2005   Peterson          Sr.
 Count Two          Skid Steer                                     Contractors
 Overt Acts (d      Haulin            $36,000         07/08/2005   Specialty         Sr.
 & e)               Enclosed                                       Fitters
 Count Three        Trailer with
                    Equipment
 Overt Act (f)      Bobcat Mini       $30,000         03/05/2006   Dale Yost         Sr. & Jr.
 Count Four         Excavator                         -            Construction
                                                      03/06/2006


 Overt Act (g)      New Holland       $9,658          03/06/2008   Frances           Sr. & Jr.
 Count Five         Skid Steer                                     Puster
 Overt Act (h)      Liberty           $5,000          04/05/2008   Raymond           Sr. & Jr.
                    Tandem Axel                       or           Mills
                    Trailer                           05/05/2008
 Overt Act (i)      Kubota B26        $14,454         05/09/2008   Hurst Tractor     Sr. & Jr.
 Count Six          Tractor

                    Loader            $3,960

                    Backhoe           $6,125


                 (3) Unindicted Relevant Conduct

       The second category of relevant conduct is the uncharged conduct attributed to Young Sr.

and Young Jr. in the PSRs. These additional loss attributions consist of the value of the stolen items

not named in the Indictment that were found during searches of the Young property, the

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Summerfield properties, and the Marcum property. Briefly, the Court notes that the stolen items

seized from these properties are part and parcel of the activity that constituted Defendants’

conspiracy conviction, and subject to an individualized inquiry as to each Defendants’ participation,

the value of the items seized on these properties are properly considered as potential relevant

conduct stemming from the conspiracy. U.S.S.G. § 1B1.3(a). As described at trial, the overall

structure of the conspiracy charged in Count One consisted primarily of Young Sr. and Jr. utilizing

the properties of Jason Summerfield, Jay Summerfield, and Dennis Marcum to store stolen items,

including motor vehicles, for eventual sale. Summerfield and Marcum testified to receiving the

unindicted stolen items from the Youngs while the conspiracy was ongoing, and these transactions

involved the same overarching criminal purpose, the same co-conspirators, and the exact same

pattern of activity as the specific offenses described in the Indictment. There is no discernable

difference (and indeed, there is even some overlap) between the items specifically named in the

Indictment and the items located on the Summerfield, Young, and Marcum properties.

                                      a. Young Property

       On March 30, 2006, a search warrant was executed on “Boyd Farm,” the property where

Young Sr. and Young Jr. resided. Located on the property were (1) a red 1998 Cargo Express

enclosed trailer, reported stolen on July 15, 2004, from Mazoo Contractors, Inc., valued by the

Government at $2,492; (2) an eighteen foot Hudson flatbed trailer, reported stolen on March 25,

2006, from Trio Concrete, valued by the Government at $4,000; (3) an eighteen foot Appalachian

trailer, reported stolen from Northwest Services, valued by the Government at $3,100, and (4) a

black Cronkite trailer, reported stolen between March 5th and 6th of 2006 from Dale Yost

Construction at the same time as the Bobcat mini excavator named in Overt Act (f) and Count Four,

valued by Robert Yost at “right around $3,500.” (Docket 153 at 171.)

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       The above values advocated by the Government were derived from the testimony at trial as

well as the summary exhibit provided at the December 22, 2010, hearing. (Docket 185 at 6.) For

the reasons noted above, the Court credits Robert Yost’s estimate as to the value of the Cronkite

trailer. SA Remaley testified that the values for the other three items came from either the police

reports or the police documents for the stolen items. He also stated that he had gone through the

documents himself and verified the information. The Court credits this testimony and adopts these

values as a “reasonable estimate of the loss” stemming from the offense conduct of the conspiracy.

U.S.S.G. § 2B1.1 cmt. n.3(C).

                              b. Summerfield Properties

       On July 24, 2008, a search warrant was executed on Jason Summerfield’s rural property

(Summerfield farm), and numerous items of stolen property were retrieved. On July 25, 2008, a

search was conducted of Jay Summerfield’s personal residence, and several more items of stolen

property were retrieved. Young Sr.’s and Young Jr.’s PSRs contain a list detailing the value of each

piece of property seized from these residences. Excluding the value of the items that were also

named in the Indictment so as to avoid double counting, the Probation Office counted the value of

each stolen item found on the Summerfield farm and residence toward Young Sr.’s and Young Jr.’s

relevant conduct.

       The Government presented its estimations of the values for the items seized from the

Summerfield farm and residence at the December 22, 2010, hearing. (Docket 185 at 2-3.) In

addition to the summary exhibit provided to the Court, SA Remaley focused much of his testimony

on the items retrieved in these searches. The table below notes the suggested value of the seized

items, identifies the materials from which that value was derived, and notes the trial testimony

directly implicating the Youngs in the property at issue. As no separate evidence of the appropriate

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victim was provided to the Court, the listed victims are derived from the list of “rightful owners”

in the PSRs.

                                   Summerfield Seized Items

    Item             Value               Date Stolen         Victim               Direct
                                                                                  Participation6
    New Holland      $30,000 (police     04/18/2008 -        Muskingham           Sr. & Jr.
    TN85A Tractor    report)             05/09/2008          Tractor and          (Docket 153 at
                                                             Equipment            229-30);
                                                                                  (Docket 154 at
                                                                                  56)
    John Deere       $24,694 (retail)    06/23/2008 -        Shearer              Sr.
    Tractor with                         06/24/2008          Equipment            (Docket 153 at
    Loader                                                                        222-23)7
    Kubota BX        $1,450.14           05/09/2008-         Hurst Tractor        Sr. & Jr.
    2350 4wd         (wholesale)         05/10/2008          and Equipment        (Docket 153 at
    mower with 60"   (Docket 154 at                                               211-216);
    mowing deck      165, Gov’t Trial                                             (Docket 154 at
                     Exh. 54)                                                     8)
    2005 Polaris     $10,000 (police     07/17/2007          Shearer              Sr.
    Sportsman 800    report)                                 Equipment            (Docket 153 at
    ATV                                                                           234)




6
  The Court has directly attributed items to Young Sr. that were not specifically referenced in the
testimony, due to Summerfield’s broad statements connecting Young Sr. to “every one” of the items
that were seized. (Docket 153 at 234.) This is discussed in more detail in the section addressing
Young Sr.’s attributable relevant conduct.
7
  Although Summerfield testified that he had actually stolen this tractor to give to Young Sr., who
then rejected it, Summerfield further testified, corroborated by Dean Hartsel, that Young Sr. had
requested the tractor, provided Summerfield with the appropriate keys so that he could steal one, and
subsequently refused to take possession because the tires were too large. Given these circumstances,
Summerfield’s theft, transport, possession, and storage of this item can be directly attributed to
Young Sr. See U.S.S.G. § 1B1.3(a)(1)(A) (“all acts an omissions committed, aided, abetted,
counseled, commanded, induced, procured, or willfully caused by the defendant”).

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    1993 Kawasaki    $1,000 (police     01/21/2008         Thorn              Sr. (Docket 153
    KLX 650          document)                             Equipment          at 234); (Docket
                                                                              154 at 9)
    New Holland      $3,000 (police     06/26/2008         Shearer            Sr.
    847 Round        report)                               Equipment          (Docket 153 at
    Haybaler                                                                  226-27)
    Kubota           $13,817.68         06/13/2008         Moore’s Lawn       Sr. & Jr.
    RTV1100CW-H      (retail)                              and Garden         (Docket 153 at
    vehicle                                                                   231-234);
                                                                              (Docket 154 at
                                                                              9)
    2005 Mortiz      $4,000 (police     03/17/2008         Rock’s Trailer     Sr.
    International    report)                               Services           (Docket 153 at
    Tandem Axle                                                               234); (Docket
    Trailer                                                                   154 at 10)
    Bobcat Skid      $23,000 (police    05/05/2008         Rock’s Trailer     Sr.
    Steer            report)                               Services8          (Docket 153 at
                                                                              234); (Docket
                                                                              154 at 11, 53)
    Husqvarna        $223.40 (retail)   06/13/2008         Moore’s Lawn       Sr.
    Weed Eater                                             and Garden         (Docket 153 at
                                                                              234);(Docket
    Husqvarna        $254.76 (retail)                                         154 at 9-10)
    Weed Eater

    Husqvarna        $281.76 (retail)
    Chain Saw

    Husqvarna Push   $224.87 (retail)
    Mower




8
 It is unclear to the Court whether this recovered Bobcat is the same as the Bobcat stolen from
Raymond Mills. (Docket 154 at 11, 53). The Court will simply note that if this is the same Bobcat
as that stolen from Raymond Mills, both Young Jr. and Young Sr. were directly involved. (Docket
153 at 206-11). This confusion does not affect the number of victims nor the attributable amount
of loss.

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 Whiteman            $2,526 (police      06/22/2008          Moore’s Lawn        Sr.
 Power Trowel        report)                                 and Garden          (Docket 153 at
                                                                                 234); (Docket
                                                                                 154 at 11)

       The Court finds that the police reports and retail valuations, as presented to the Court by SA

Remaley and summarized above, provide sufficiently reliable estimations of the value of these items

to establish the relevant amount of loss by a preponderance of the evidence. As such, the Court

adopts the values advocated by the Government for the items listed above.

       In addition to the list above, the Probation Office also attributes to both Young Sr. and

Young Jr. the value of several items seized from Jay Summerfield’s personal residence: (1) a 2005

Dodge flatbed truck, reported stolen on March 17, 2008, from Mohican Farms, Holmes County,

Ohio, valued at $25,100; and (2) approximately $3,271.18 worth of stolen equipment from Ohio,

including a boxer trailer, digital laser tools, various types of saws, push mowers, and weed-eaters,

stolen from Moore’s Lawn and Garden in Millsburg, Ohio, Platform Cement in Willoughby, Ohio,

and Snavely Construction in Shagin Falls, Ohio. These items were not discussed at the trial nor at

the December 22, 2010, hearing, and have not been identified in any of the Government’s exhibits.

Given the dearth of information provided to the Court as the source of these valuations, the Court

finds that the Government has not shown by a preponderance of the evidence that these items should

be attributed to the relevant conduct of either Young Sr. or Young Jr. As such, the Court excludes

the value of these items from Defendants’ relevant conduct.

                              c. Dennis Marcum’s Residence (Acquitted Conduct)

       On August 24, 2008, state troopers searched Dennis Marcum’s property with his consent.

Twelve pieces of stolen property were recovered, and Marcum maintained in a subsequent police



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interview that he had received all but four of those items from the Youngs as a part of their ongoing

conspiracy. Marcum confirmed the Youngs’ connection to these items in his testimony at trial, and

the Probation Office attributed the estimated value of these eight pieces to the amount of loss

stemming from Young Sr.’s and Young Jr.’s relevant conduct.

           At the December 22, 2010, hearing, the Government presented an itemized list detailing the

values of seven of the items as derived from police reports and insurance information. (Docket 185

at 4-5).9 SA Remaley testified that all of the stolen items on this list were connected to the Youngs

by virtue of the evidence and the investigation of this case, and he noted that the list excluded

several items found on the Marcum property that could not be directly attributed to the Young

conspiracy. The table below details the value of these seven items seized from the Marcum property

as determined from both the testimony elicited at trial and the evidence presented by the

Government in the December 22, 2010, hearing. The table also notes where Marcum explicitly

referenced one of the Youngs’ involvement with a stolen item.

                                   Marcum Property Seized Items
    Item                Value              Date Stolen         Victim             Direct
                                                                                  Participation
    2008 Ford F-650     $73, 900           08/12/2008          Tom Masano         Young Sr.
    Rollback            (testimony /                           Ford               (Docket 154 at
    (Acquitted          retail) (Docket                                           227-228)
    Count Seven)        154 at 218)




9
 The Court notes that the PSRs for both Defendants also list a 2006 Hallmark Cargo 20', valued at
$5,999, as the attributable value of an item seized from the Marcum property. However, although
this item is listed in the Government’s summary exhibit, no value is noted, and SA Remaley offered
no testimony concerning this value at the December 22, 2010, hearing. As such, the Court excludes
this item from its calculations.

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 2007 Chevrolet      $15,000 (police      06/21/2008          not provided        Young Sr.
 Colorado            report)                                                      (Docket 154 at
                                                                                  241- 243)
 2006 Ford           $17, 684             12/28/2007          not provided        Young Jr.
 Mustang             (insurance                                                   (Docket 154 at
                     settlement)                                                  243-44)
 2006 Equipment      $2,600 (police       05/09/2008          not provided
 Pro 20'             report)
 2005 Caterpillar    $34,500 (police      05/08/2008          not provided
 Excavator           report)
 2002                $18,000 (police      03/11/2008          not provided
 Woodchuck           report)
 1999 Harley         $5,028               05/01/2008          not provided
 Davidson XL         (insurance
 Series              company)

        Notably, the Indictment in this action, in both Overt Act (j) of the Count One conspiracy and

again in Count Seven, charged Young Sr. and Young Jr. with the possession of a stolen motor

vehicle, specifically the above-mentioned “2008 Ford F-650 Rollback” found on the Marcum

property. The jury acquitted both Young Sr. and Young Jr. of Count Seven, which also constituted

the only overt act listed in Count One that specifically named Dennis Marcum as a co-conspirator

in the Youngs’ criminal activities. As such, in addition to their general objections concerning the

Government’s techniques for determining the value of the stolen property, Young Sr. and Young

Jr. categorically object to the propriety of the Probation Office’s attribution of the stolen property

seized from Dennis Marcum’s farm.

       Defendants argue that, as they were both acquitted of Count Seven, which was the only count

involving Dennis Marcum, it is inappropriate to consider Marcum’s testimony or the items found

on his property when determining their relevant conduct. Although Defendants cite to Blakely v.



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Washington, 542 U.S. 296 (2004), and Gall v. United States, 552 U.S. 38 (2007), in support of the

proposition that it is inappropriate as a matter of law to consider acquitted conduct as relevant

conduct, this position has been categorically rejected by the Fourth Circuit and will not avail

Defendants here. See United States v. Grubbs, 585 F.3d 793, 798-99 (4th Cir. 2009) (describing

“clear Supreme Court and Fourth Circuit precedent holding that a sentencing court may consider

uncharged and acquitted conduct in determining a sentence, as long as that conduct is proven by a

preponderance of the evidence”); United States v. Ibanga, No.06-4738, 2008 WL 895660, at *3 (4th

Cir. April 1, 2008) (holding, post-Blakely and Gall, that it was “significant procedural error” for a

district court to “categorically exclud[e] acquitted conduct from the information that it could

consider in the sentencing process”).

       The appropriate inquiry for the Court is whether the Government has proven the acquitted

conduct involving Dennis Marcum by a preponderance of the evidence. Grubbs, 585 F.3d at 799.

Although Defendants argue that the jury verdict proves Marcum to be an unreliable witness, the

Court is not so convinced. Putting aside the myriad reasons the jury may have acquitted Young Sr.

and Young Jr. of the charges contained in Count Seven, the standard of proof at sentencing requires

less exacting findings than “beyond a reasonable doubt.” Based upon the Court’s observations of

Dennis Marcum’s testimony at trial, the Court finds by a preponderance of the evidence that he was

a reliable witness in this matter and provided credible testimony concerning the conspiracy and

Defendants’ criminal conduct. Moreover, the Court credits SA Remaley’s testimony that each of

the items on the above table is connected to the Young conspiracy. Accordingly, it is appropriate

to consider Marcum’s testimony and the items found on his property as potential relevant conduct

for the conspiracy.


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       The Court finds that the values for the stolen property contained in the police reports, retail

valuations, and insurance documents, as presented to the Court by SA Remaley and summarized

above, provide sufficiently “reliable estimates” of the value of the items seized from Marcum’s

property to establish a relevant amount of loss attributable to the conspiracy by a preponderance of

the evidence. U.S.S.G. § 2B1.1 cmt. n.3(C). As such, the Court adopts the values advocated by the

Government for the property listed above.

                       (4) Attribution of Relevant Conduct

       The principles of relevant conduct dictate that a defendant be held accountable for all the

harm resulting from each act or omission that he directly “committed, aided, abetted, counseled,

commanded, induced, procured, or willfully caused” in the course of the offense conduct. U.S.S.G.

§ 1B1.3(a)(1)(A). In addition, a defendant in a jointly undertaken criminal activity is held

responsible for all the harm resulting from the “reasonably foreseeable acts and omissions of others

in furtherance of the jointly undertaken criminal activity.” U.S.S.G. § 1B1.3(a)(1)(B) (emphasis

added). Before holding a defendant accountable under U.S.S.G. § 1B1.3(a)(1)(B), the Court must

make specific findings that the acts of others taken in furtherance of the jointly undertaken criminal

activity are “[1] within the scope of the defendant’s agreement [to the jointly undertaken criminal

activity] and . . . [2] reasonably foreseeable to the defendant.” Gilliam, 987 F.2d at 1012-13; United

States v. Bolden, 325 F.3d 471, 499 (4th Cir. 2003) (requiring particularized findings).

       The “scope of the defendant’s agreement” to criminal activity consists of “the scope of the

specific conduct and objectives embraced by the defendant’s agreement” and can be appropriately

inferred from the parties’ conduct. U.S.S.G. § 1B1.3 cmt. n.2. This inquiry focuses on the “role the

defendant agreed to play in the operation.” Bolden, 325 F.3d at 499 (quoting United States v.


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Studley, 47 F.3d 569, 575 (2d Cir.1995)). Whether the jointly undertaken criminal activity is also

“reasonably foreseeable” to the individual defendant is dependent on the facts of each case. See

generally Gilliam, 987 F.2d at 1012-13.

                               a. Young Sr.

       The testimony and evidence presented at trial establishes that Young Sr. was intimately and

directly involved in the transportation, receipt, possession, storage, concealment, or sale of almost

every piece of stolen property that has been recovered in this case, including the stolen items seized

from the Young, Summerfield, and Marcum properties. However, to the extent that evidence of

Young Jr.’s active participation has not been established, the Court finds that he remains accountable

for the remainder of the relevant conduct attributable to the conspiracy, as his co-conspirator’s

actions were both foreseeable and within the scope of his criminal agreement. Gilliam, 987 F.2d

at 1012-13; U.S.S.G. § 1B1.3(a)(1)(B).

       Notably, and as discussed in more detail in the analysis of the aggravating role enhancement

under U.S.S.G. § 3B1.1(c) below, the “role [Young Sr.] agreed to play in the operation” was one

of a supervisor, leader, manager, or organizer of the criminal activity. Bolden, 325 F.3d 471, 499.

Young Sr. was both the original architect of the conspiracy and the primary director of its activities.

He was the only co-conspirator that was unquestionably involved throughout the entire life of the

conspiracy, and he was an active participant and leader in each type of activity that led to the

amalgamation of relevant conduct in this case. Given his active supervisory role, the Court finds

that Young Sr. can be held accountable in relevant conduct for the entire scope of the conspiracy.




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       In the indicted conduct category, as noted above, the testimony at trial establishes by a

preponderance of the evidence that Young Sr. is responsible for the total loss amount of $229,197

for his direct participation in the offenses of conviction. U.S.S.G. § 1B1.3(a)(1)(A).

       First, in the unindicted conduct category, the value of the four stolen items seized from the

Boyd Farm is properly attributed to Young Sr.’s relevant conduct under either U.S.S.G. §§

1B1.3(a)(1)(A) or 1B1.3(a)(1)(B). Given the scope of the conspiracy and Young Sr.’s extensive

participation, the only reasonable explanation for the items’ location on Young Sr.’s land is his

knowing act of possession, storage, or concealment. As such, Young Sr. can be held accountable

for the value of the four pieces of stolen equipment, for a total of $13,092.

       Second, Young Sr. is also accountable for the full amount of loss attributable to the search

of the Summerfield property under either U.S.S.G. §§ 1B1.3(a)(1)(A) or 1B1.3(a)(1)(B). As noted

in the second table, Jay Summerfield’s testimony at trial connected Young Sr. to every one of the

items that were retrieved as a result of this search. (Docket 153 at 234) (Q: “What, if any, pieces of

that equipment on that farm that you’re aware of did not involve Tommy Young Sr.?” A: “None of

them.”). On cross examination, counsel for Young Sr. went through, item by item, the entire list

of stolen property that the Government has valued. At that time, and on redirect, Summerfield

maintained that each piece of equipment seized involved some direct action by Young Sr. (Docket

154 at 29 (Q: “But in every one of those transactions, Tommy Young [Sr.] participated, you claim,

in some form or manner?” A: “Yes.”)). Accordingly, the value of each of these items, for a total of

$114, 472.61, is properly attributed to Young Sr.

       Finally, Young Sr. is also accountable for the stolen equipment retrieved from Marcum’s

property. Although Marcum generally utilized the amorphous description of “the Youngs” when


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describing the origins of the identified stolen items on his property, Marcum’s testimony still

directly implicated Young Sr. in at least two of the seven pieces of valued property that were

recovered at his residence and, as the Court previously noted, Young Sr. is accountable for the

remainder of the items as part of the conspiracy’s relevant conduct that was both foreseeable and

within the scope of his agreement. U.S.S.G. 1B1.3(a)(1). As such, the Court finds that the values

of each of these seven items, for a total of $166,712, are appropriately attributed to Young Sr.’s loss

calculation.

       In total, the Government has proven by a preponderance of the evidence that the amount of

loss directly attributable to Young Sr. is $523,473.61. As this figure is greater than $400,000 and

less than $1,000,000, the Probation Office appropriately increased Young Sr.’s offense level by

fourteen. U.S.S.G. § 2B1.1(b)(1)(H). Accordingly, Young Sr.’s objection is OVERRULED.

                               b. Young Jr.

       The question of Young Jr.’s participation in the criminal conduct constituting the conspiracy

and his subsequent liability for the resulting harm is a complicated one. Young Jr.’s PSR notes that

“[d]uring certain periods of the conspiracy between Tommy Young Jr., and his father, the defendant

was detained as a juvenile and youthful offender. The probation officer does not assess any property

stolen during the [periods of confinement] unless it was found on the property he shared with

Tommy Young Sr.” At the December 22, 2010, hearing in this matter, counsel for Young Jr.

indicated that she didn’t understand the Probation Office’s method, and the Government argued that

the loss figure for both Young Sr. and Young Jr. should be the same.

       Once again, Young Jr. can be held accountable for all reasonably foreseeable criminal

actions of his co-conspirators within the scope of his agreement to the conspiracy. Gilliam, 987 F.2d


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at 1012-13; U.S.S.G. § 1B1.3(a)(1)(B). The fact that he was incarcerated for a period of the

conspiracy does not preclude the Court from crediting him with the activities of his co-conspirators.

See United States v. Brawley, No. 91-5563, 1992 WL 180737, at *7 (4th Cir. July 31, 1992)

(upholding attribution to defendant of drug quantities related to co-conspirator’s activities which

occurred while defendant was incarcerated). The crux of the issue is, to the extent that Young Jr.

did not directly participate in the criminal acts, whether the criminal activities were both reasonably

foreseeable to him and within the scope of his agreement to the conspiracy.

       According to the PSR, Young Jr. was confined in varying detention centers from: (1) January

22, 2004 – February 2, 2004; (2) June 2, 2004 – July 9, 2004; (3) August 26, 2004 – December 22,

2005; and (4) October 16, 2008 – August 3, 2009. Given Young Jr.’s relatively subordinate role in

the conspiracy and intermittent participation during its early years, the Court is not inclined to hold

him accountable for the largely unforeseeable criminal activities of his co-conspirators that occurred

while he was incarcerated. Compare United States v. Meacham, No. 95-16211, 1996 WL 494284

(6th Cir. August 28, 1996) (reasonably foreseeable to “major player in conspiracy” that enterprise

would be maintained while he was incarcerated) with United States v. Johnson, 956 F.2d 894, 906

(9th Cir. 1992) (incarcerated co-conspirator not held responsible for acts of co-conspirators where

she was a minor participant), superseded by regulation on other grounds, U.S.S.G. § 3E1.1, as

recognized in United States v. Martinez-Martinez, 369 F.3d 1076, 1089-1090 (9th Cir. 2004).

Accordingly, the Court excludes from Young Jr.’s relevant conduct any item that was stolen during

his periods of confinement.

       When Young Jr. was freed from confinement, even for brief periods, the evidence shows that

he was an active participant in the conspiracy. The Court believes that the evidence at trial


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establishes that he was, more likely than not, a direct participant in the vast majority of criminal acts

involving the stolen property identified in this case. However, to the extent that evidence of Young

Jr.’s active participation has not been established, the Court finds that he remains accountable for

the remainder of the relevant conduct attributable to the conspiracy, as his co-conspirator’s actions

were both foreseeable and within the scope of his criminal agreement. Gilliam, 987 F.2d at 1012-

13; U.S.S.G. § 1B1.3(a)(1)(B).

        First, Young, Jr’s agreement to the criminal activity clearly encapsulates the relevant conduct

that has been attributed to the conspiracy in this case. Not only was Young Jr. fully cognizant of

the entire conspiracy, he actually “agreed to play” an active “role” at every level of the operation.

Bolden, 325 F.3d at 499. As established by the evidence at trial, Young Jr. was involved in the theft,

transport, storage, concealment, and sale of stolen items for profit, and he was particularly active

in the role of delivering stolen items to both Summerfield and Marcum for storage. All of the

relevant conduct in this case stems from transactions that were well within the scope of Young Jr.’s

typical criminal activities, and were thus completely within the “scope of the specific conduct and

objectives embraced by [his] agreement.” U.S.S.G. § 1B1.3 cmt. n.2.

        Second, the ongoing criminal acts of Young Jr.’s co-conspirators, particularly his father,

were entirely foreseeable to him. When he was not incarcerated, Young Jr. lived on the Boyd farm

with his father, worked closely with him, and was otherwise deeply involved and aware of the

criminal activity that is the subject of the Indictment. Given the nature of the ongoing offense, the

close proximity of his co-conspirators, and his own ongoing criminal activities, Young Jr. could

clearly anticipate the acts that led to the loss determination in this case, even if he was not an active

participant in each instance.


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       In sum, largely in accordance with the recommendation of the Probation Office, the Court

finds that Young Jr. is accountable for the entire amount of loss attributable to the conspiracy,

excluding only those items that were stolen while he was in custody.

       In the indicted conduct category, as noted in the first table, the Government established

evidence of Young Jr.’s direct participation in all the overt acts, save three: (1) Overt Act (b), the

2000 Takeuchi Excavator valued at $32,000; (2) Overt Act (c) and Count Two, the Caterpillar Skid

Steer valued at $47, 285; and (3) Overt Acts (d-e) and Count Three, the Haulin Enclosed Trailer with

Equipment valued at $36,000. The Court finds that, of these three items, Young Jr. can only be held

accountable for the value of the $32,000 Takeuchi excavator, as it was stolen on March, 26, 2004,

during one of his brief periods of release from juvenile custody.10 Accordingly, the total amount of

loss attributable to Young Jr. for the indicted conduct is $146,197.

       In the unindicted conduct category, all of the items seized from the Young, Summerfield, and

Marcum properties, save two, are properly attributed to Young, Jr under either U.S.S.G. §§

1B1.3(a)(1)(A) or 1B1.3(a)(1)(B). The items on the Summerfield farm were all stolen between July

17, 2007, and June 24, 2008, and were seized on July 24, 2008. Young Jr. was free from

confinement and participating in the conspiracy during this entire period. Similarly, the items found

on the Marcum property were all stolen between December 28, 2007, and August 12, 2008, and

were seized on August 24, 2008. Again, Young Jr. was free for this period and participating in the

conspiracy. As for the items seized from the Boyd Farm on March 30, 2006, only the “red 1998

Cargo Express enclosed trailer,” valued at $2,492, and the “eighteen foot Appalachian trailer,”



10
  Both the Caterpillar skid steer (stolen April 15, 2005) and the Haulin Enclosed Trailer (stolen July
8, 2005) were stolen while Young Jr. was in custody.

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valued at $3,100, were stolen or potentially stolen on a date coinciding with Young Jr.’s

confinement.11 As such, they are properly excluded.

       Accordingly, the total amount of loss attributable to Young Jr. for his uncharged relevant

conduct is $7,500 for the items seized from the Young property, $114,472.61 for the items seized

from the Summerfield property, and $166,712 for the items seized from the Marcum property.

       In total, the Government has proven by a preponderance of the evidence that the amount of

loss attributable to Young Jr. is $434,881.61. As this figure is greater than $400,000 and less than

$1,000,000, the Probation Office appropriately increased Young Jr.’s offense level by fourteen.

U.S.S.G. § 2B1.1(b)(1)(H). As such, Young Jr.’s objection to this enhancement is OVERRULED.

       B. 10 or More Victims (Sr. & Jr.)

       Young Sr. and Young Jr. object to the application of the U.S.S.G. § 2B1.1(b)(2)(A)(i)

enhancement, which increases the offense level by two if the offense involved more than ten but

fewer than fifty victims.12 The term “victim” is defined in the commentary as “any person who

sustained any part of the actual loss determined under subsection (b)(1).” U.S.S.G. § 2B1.1 cmt. n.1.

As noted earlier, “actual loss” is the pecuniary harm that a defendant knew or should have known

was a potential result of the offense. U.S.S.G. § 2B1.1 cmt. n.3(A)(i), (iii-iv). The Government

must prove “the facts underlying [this] enhancement by a preponderance of the evidence.” United

States v. Hill, 322 F.3d 301, 307 (4th Cir. 2003).



11
  The Cargo express trailer was stolen on July 15, 2005, when Young Jr. was confined, and the date
of theft for the Appalachian trailer has not been provided to the Court.
12
  The Court notes that both named co-conspirators, Jay Summerfield and Dennis Marcum, received
this enhancement. United States v. Jay Summerfield, No. 2:09-cr-00149-001 (S.D. W. Va. 2010);
United States v. Dennis Marcum, 2:09-cr-00202-001 (S.D. W. Va. 2010).

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       The items named in the indictment reveal eight victims of Defendants’ conduct: Mark Stine,

United Rentals, Peterson Contractors, Specialty Fitters, Dale Yost Construction, Frances Puster,

Raymond Mills, and Hurst Tractor and Equipment. Factoring in the additional victims for the stolen

property found on the Boyd farm, Jay Summerfield’s farm, and Dennis Marcum’s property, the total

rises to at least seventeen: Mazoo Contractors, Trio Concrete, Northwest Services, Muskingham

Tractor and Equipment, Shearer Equipment, Thorn Equipment, Moore’s Lawn and Garden, Rock’s

Trailer Services, and Tom Masano Ford.13 This list represents the most conservative number of

victims based on the information available to the Court, and it totals well above ten. Therefore, the

Court finds that the two-level enhancement pursuant to a U.S.S.G. § 2B1.1(b)(2)(A)(i) is properly

applied, and Defendants’ objections to the same are OVERRULED.

       C. Business of Receiving and Selling Stolen Property (Sr.)

       Young Sr. challenges the application of a two-level enhancement pursuant to U.S.S.G. §

2B1.1(b)(4) for being in the business of receiving and selling stolen property. This guideline

provides for a two-level enhancement if “the offense involved receiving stolen property, and the

defendant was a person in the business of receiving and selling stolen property.” U.S.S.G. §

2B1.1(b)(4). The commentary provides a non-exhaustive list of factors for the Court to consider

when determining the applicability of this enhancement: “(A) The regularity and sophistication of

the defendant’s activities[;] (B) The value and size of the inventory of stolen property maintained

by the defendant[;] (C) The extent to which the defendant's activities encouraged or facilitated other

crimes[;] (D) The defendant’s past activities involving stolen property.” U.S.S.G. § 2B1.1 cmt. n.5.



13
  Although there are presumably more victims connected with the items found on Marcum’s
property, only Tom Masano Ford has been identified to the Court.

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The Fourth Circuit has characterized these factors as a “totality of the circumstances” test. White,

2003 WL 22332377, at *4.14 Again, the Government must establish the appropriateness of this

enhancement by a preponderance of the evidence. Hill, 322 F.3d at 307.

       First, Young Sr.’s criminal activities displayed both “regularity and sophistication.”

U.S.S.G. § 2B1.1 cmt. n.5. For approximately five years, from June of 2003 to July of 2008, Young


14
    Although Young Sr. has not asserted this as grounds for his objection to this enhancement, the
Court would note that five Circuit Courts of Appeals outside of the Fourth Circuit currently take the
position that U.S.S.G. § 2B1.1(b)(4) does not apply to a defendant who sells only property that he
himself has stolen. United States v. Kimbrew, 406 F.3d 1149, 1152 (9th Cir. 2005) (advocating a
totality of the circumstances approach to the “in the business” question combined with the
requirement that a defendant “be a fence – to receive and sell property stolen by others – before the
enhancement applies”); United States v. Maung, 267 F.3d 1113, 1118 (11th Cir.2001) (stating that
“a thief who sells goods that he himself has stolen is not ‘in the business of receiving and selling
stolen property’”), abrogated on other grounds by Dolan v. United States, --- U.S. ----, 130 S.Ct.
2533 (2010); United States v. McMinn, 103 F.3d 216, 219-21 (1st Cir.1997) (guideline not meant
to apply to defendant who sells only property he has stolen); United States v. Sutton, 77 F.3d 91, 94
(5th Cir.1996) (enhancement “a punishment for fences, people who buy and sell stolen goods,
thereby encouraging others to steal, as opposed to thieves who merely sell the goods which they
have stolen”); United States v. Braslawsky, 913 F.2d 466, 468 (7th Cir.1990) (“a person in the
business of receiving and selling stolen property is a professional fence and not a person who sells
property that he has already stolen”).
        Arguably, the implication was made at trial that Young Sr. was the original thief of a large
percentage of the equipment that he sold. However, none of Young Sr.’s convictions required a
finding of his personal involvement in the actual theft, and Young Sr. himself has steadfastly
maintained his innocence of all criminal wrongdoing. Even Jay Summerfield, an integral member
of this conspiracy, testified that he simply “picked up” the stolen items from Young Sr., stressing
that he had no idea who actually stole the items. Although the evidence presented at trial established
that Young Sr. certainly stole a portion of the items that he sold, the Court finds that some, if not
most, of the stolen items involved in Young Sr.’s business were provided by other thieves,
particularly his co-conspirators. See United States v. Zuniga, 66 F.3d 225, 229 (9th Cir.1995)
(appropriate to apply enhancement to defendant who sold both items that he stole as well as items
that others stole); see also United States v. Misencik, No, 95-5009, 1996 WL 3464, at *1-2 (4th Cir.
Jan. 30, 1996) (per curiam) (enhancement properly applied to defendant that employed his
co-conspirators as thieves). For example, in addition to the numerous unidentified participants to
the conspiracy referenced in the record, Young Jr. has been revealed to be a prolific thief,
Summerfield testified to at least one instance where he stole a vehicle for Young Sr., and
Defendants’ PSRs recount Dennis Marcum’s admission that he had “stolen motor vehicles for the
Youngs and transported them to West Virginia on their behalf.”

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Sr. was involved in a series of ongoing, regular, and organized criminal transactions centered around

the theft, transfer, purchase, storage, and sale of goods and motor vehicles stolen from a variety of

states. Numerous parties were involved in this conspiracy, and the parties coordinated their efforts

with the use of Trac phones and organized exchanges of stolen property. Further, evidence at trial

established that Young Sr. facilitated many of the thefts by providing keys that could operate the

stolen vehicles. Moreover, at least one of the co-conspirators, at the direction of Young Sr., was

engaged in the activity of “cloning,” altering, or removing the Vehicle Identification Numbers from

the stolen items, which evinces a level of sophistication. See generally United States v. Davis, No.

05-4020, 2006 WL 297301, at *2 (4th Cir. 2006) (per curiam) (affirming district court’s finding that

“sophisticated means” included “fake Vehicle Identification Numbers and title documents”).

       Second, “the value and size of the inventory of stolen property maintained” by Young Sr.

was substantial. U.S.S.G. § 2B1.1 cmt. n.5. A large inventory of stolen items, as detailed above,

was discovered on the Young, Summerfield, and Marcum properties. The total value of the stolen

goods handled by Young Sr. throughout the course of this conspiracy totals, in the very least, in the

hundreds of thousands of dollars.

       As for the last two factors, Young Sr.’s activities certainly “encouraged or facilitated other

crimes.” U.S.S.G. § 2B1.1 cmt. n.5. Specifically, his profitable enterprise encouraged his co-

conspirators to steal, transport, store, and conceal the items that Young Sr. would then sell. Finally,

Young Sr. also has a record of “past activities involving stolen property.” U.S.S.G. § 2B1.1 cmt.

n.5. In addition to extensive and far-ranging criminal activity over the five-year period of this

conspiracy, Young Sr.’s criminal history reveals convictions for theft and receiving stolen property

dating back to 1987.


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       On balance, the “totality of the circumstances” shown on the record of this case militates in

favor of the enhancement. Therefore, Young Sr.’s objection is OVERRULED, and the Court finds

that a two-level enhancement pursuant to U.S.S.G. § 2B1.1(b)(4) is properly applied in this case.

       D. Offense Involved Organized Scheme to Steal or Receive Stolen Vehicles (Sr. & Jr.)

       Young Sr. and Young Jr. challenge the application of a two-level enhancement pursuant to

U.S.S.G. § 2B1.1(b)(12) for their involvement in an organized scheme to sell or receive stolen

vehicles.15 This guideline provides for a two-level enhancement “if the offense involved an

organized scheme to sell or receive stolen . . . vehicles or vehicle parts.” U.S.S.G. § 2B1.1(b)(12).

The commentary describes this subsection as applying to an “ongoing, sophisticated operation (e.g.,

an auto theft ring or ‘chop shop’) to steal or receive stolen . . . vehicles or vehicle parts.” U.S.S.G.

§ 2B1.1 cmt. n.10. The term “vehicles” includes motor vehicles, a term which also applies to farm

equipment. U.S.S.G. § 2B1.1 cmt. n.10; see also 18 U.S.C. § 2311.

       The Court finds that the conspiracy involving the Youngs is properly characterized as an

ongoing “auto-theft ring,” and, for the reasons detailed in the discussion of Young Sr.’s U.S.S.G.

§ 2B1.1(b)(4) enhancement for being in the business or receiving and selling stolen property,

Defendants’ objection is OVERRULED.

       E. Aggravating Role (Sr.)

       Young Sr. objects to his enhancement for playing an aggravating role as an organizer, leader,

manager, or supervisor of the conspiracy to steal, transport, conceal, and sell stolen property.

U.S.S.G. § 3B1.1(c) of the Sentencing Guidelines provides for a two-level enhancement “[i]f the


15
  The Court notes that both named co-conspirators, Jay Summerfield and Dennis Marcum, received
this enhancement. United States v. Jay Summerfield, No. 2:09-cr-00149-001 (S.D. W.Va. 2010);
United States v. Dennis Marcum, 2:09-cr-00202-001 (S.D. W.Va. 2010).

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defendant was an organizer, leader, manager, or supervisor in any criminal activity other than that

discussed in [§ 3B1.1] (a) or (b).” In order to qualify for this enhancement, Young Sr. must be the

“organizer, leader, manager, or supervisor of one or more other participants.” U.S.S.G. § 3B1.1,

comment (n.2). For the purposes of this enhancement, “[l]eadership over only one other participant

is sufficient as long as there is some control exercised.” United States v. Rashwan, 328 F.3d 160,

166 (4th Cir. 2003) (citing United States v. Harriott, 976 F.2d 198, 200 (4th Cir.1992)). “The

determination of a defendant’s role must be made on the basis of all relevant conduct.” United

States v. Love, 134 F.3d 595, 607 (4th Cir.1998). The commentary for this section provides seven

factors for courts to consider when distinguishing between organizers, leaders, managers,

supervisors, and other participants:

       [(1)] the exercise of decision making authority, [(2)] the nature of participation in the
       commission of the offense, [(3)] the recruitment of accomplices, [(4)] the claimed right to
       a larger share of the fruits of the crime, [(5)] the degree of participation in planning or
       organizing the offense, [(6)] the nature and scope of the illegal activity, and [(7)] the degree
       of control and authority exercised over others.

U.S.S.G. § 3B1.1 cmt. n. 4; United States v. Sayles, 296 F.3d 219, 224 (4th Cir. 2002). If an

aggravating role adjustment is warranted, the Court should “identify which factors in application

note [4] justify its decision.” United States v. Chambers, 985 F.2d 1263, 1269 (4th Cir. 1993).

       The evidence presented at trial supports an aggravating role enhancement in this case. Most

obviously, Young Sr. “recruit[ed] . . . accomplices” for involvement in the conspiracy and “claimed

right to a larger share of the fruits of the crime.” U.S.S.G. § 3B1.1 cmt. n. 4. Jay Summerfield

testified that Young Sr. approached him, told him he knew about his prior criminal record, and asked

if he “wanted to make some money.” (Docket 153 at 196.) Summerfield then joined the conspiracy

and began storing and stealing equipment at the direction of Young Sr. Similarly, Dennis Marcum


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testified that Young Sr. approached him and intimated that he was aware of his criminal record, at

which point Marcum began “working” for him. (Docket 154 at 261.) Additionally, Young Sr.

retained a “larger share of the fruits of the crime” in the form of the profits obtained from the actual

sale of the items. U.S.S.G. § 3B1.1 cmt. n. 4. Young Sr. paid Summerfield and Marcum a largely

fixed fee, usually between three and five hundred dollars, on a per-item basis.

        The evidence presented at trial also established that Young Sr. exercised primary “decision

making authority” in “planning and organizing” the conspiracy while exercising “control and

authority” over its members. U.S.S.G. § 3B1.1 cmt. n. 4. Young Sr., along with his son, was the

longest-standing member of the conspiracy, and the evidence established that Young Sr. was both

the originator and primary architect of this scheme. Summerfield and Marcum testified that Young

Sr. gave them each a specific, delineated role to play. Summerfield testified that he provided storage

space for the stolen items and, at Young, Sr’s direction, would locate certain property to steal.

Young Sr. supplied Summerfield with several pre-paid Trac phones to facilitate and control

Summerfield’s criminal activities, and he also provided Summerfield with vehicle keys to facilitate

the theft of items. Young Sr. even gave Summerfield a total of $4,500.00 for legal assistance and

living expenses after the execution of the search warrant on the Summerfield farm. Marcum testified

that his role in the conspiracy was similarly categorized; his job was to store stolen items on his

property and, at Young Sr.’s direction, to engage in various activities intended to disguise the origins

of the stolen property by altering, removing, or duplicating identifying vehicle and serial numbers.

Notably, both Summerfield and Marcum testified that there were several more anonymous parties

“working” for Young Sr.




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        Summerfield and Marcum both testified that they weren’t acquainted with each other, and

they appear to have been relegated to largely reactive, subordinate roles. This is to say nothing of

the control and authority the Court suspects Young Sr. exercised over his son and co-conspirator,

Young Jr., who was only seventeen at the time the conspiracy first began. In sum, the co-

conspirator’s testimony, which the Court finds to be reliable and credible, revealed that they, at least,

regarded Young Sr. to be the leader and organizer of their activities. The Court agrees.

        The Court finds that Young Sr.’s participation in the conspiracy, as evidenced by the

aforementioned testimonial examples as well as the entirety of the record at trial, falls into the

categories described in U.S.S.G. § 3B1.1 cmt. n. 4. Young Sr. was the architect of this conspiracy;

he devised the scheme, was its primary beneficiary, exercised primary decision-making authority

in planning and organizing it, recruited the members, and exercised control and authority over their

activities. Therefore, a two-level enhancement for being an “organizer, leader, manager, or

supervisor” in the criminal activity is appropriate pursuant to U.S.S.G. § 3B1.1(c), and Young Sr.’s

objection is OVERRULED.

        F. Use of a Minor (Sr.)

        Young Sr. challenges the application of a two-level enhancement for the use of a minor,

Young. Jr., in connection with his offenses. U.S.S.G. § 3B1.4 provides for a two-level enhancement

“[i]f the defendant used or attempted to use a person less than eighteen years of age to commit the

offense or assist in avoiding detection of, or apprehension for, the offense.” The commentary

defines “[u]sed or attempted to use” as “directing, commanding, encouraging, intimidating,

counseling, training, procuring, recruiting, or soliciting.” U.S.S.G. § 3B1.4 cmt. n.1. This

enhancement requires that a defendant engage in an “affirmative act to involve a minor in the


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offense charged.” United States v. Feaster, Jr., Nos. 00-4829, 01-4332, 2002 WL 1930839, at *4

(4th Cir. Aug. 22, 2002) (per curiam) (citing United States v. Ramsey, 237 F.3d 853, 860 (7th Cir.

2001)). As such, the enhancement is appropriate if a defendant engaged in “any affirmative act . .

. to direct, command, encourage, intimidate, counsel, train, procure, recruit, solicit, or otherwise

engage a minor with respect to the charged offense.” Id. at *4 (citing Ramsey, 237 F.3d at 860).

A “special relationship,” such as a familial bond, is relevant to the Court’s consideration of whether

the defendant “encourag[ed]” the minor. United States v. Cummings, Nos. 00-4805, 00-4826, 00-

4903, 2001 WL 1032368, at *1 (4th Cir. Sept. 10, 2001) (per curiam); see also Ramsey, 237 F.3d

at 859-60 (holding that forming a partnership with a minor is “undeniably encouraging that minor

to commit a crime”).

       Young Jr. was born November 26, 1986, and turned eighteen years old on November 26,

2004. Only Count One of the indictment, which details the conspiracy charge, involves conduct

occurring prior to November 26, 2004. The relevant time frame for the conspiracy ran from “in or

about June 2003 and continuing through at least August 2008.” (Docket 1 at 1.) Therefore, there

is a window of approximately a year and a half (June 2003 to late November 2004)16 that Young

Jr. was potentially involved in the conspiracy as a minor. Notably, Count One charged as an overt

act of the conspiracy that, “[i]n or about June 2003 to August 2004,” when Young Jr. was a minor,

both Young Sr. and Young Jr. possessed and sold a “2001 New Holland Skid Steer Loader Model

190” that had been stolen on June 26, 2003.




16
  The Court notes that Young Jr. was incarcerated for a portion of this relevant timeframe: from Jan
1, 2004, to Feb 2, 2004, from June 2, 2004, to July 9, 2004, and from August 26, 2004, through his
eighteenth birthday.

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        The evidence presented at trail supports both Young Sr. and Young, Jr’s involvement in this

overt act. William Bishop testified that in the “summer of 2004,” Young Sr. sold him a skid steer,

which was later determined to be stolen. (Docket 152 at 16-17.) Bishop testified that Young Sr. had

“a kid” with him during the sale that Young Sr. called “Tommy.” (Id. at 20-21, 28). Herbert Harold,

who testified that he had known Young Jr. since childhood, confirmed that Young Jr. accompanied

Young Sr. during the sale of the stolen skid steer to Bishop. (Id. at 38.)

        The Court finds the testimony of these witnesses to be credible and reliable. This testimony

paints a picture where Young Sr. took affirmative acts to engage his son in a criminal conspiracy

prior to his eighteenth birthday. This finding is further buttressed by the fact that the record is

replete with evidence that Young Jr. indeed heeded his father’s encouragement and became an active

participant in the conspiracy well past his eighteenth birthday. Young Sr. certainly had a “special

relationship” with his son, and he utilized the power differential that is inherent in such relationships

in order to encourage, train, and engage Young Jr. in this conspiracy, starting with the sale of the

stolen skid steer in the summer of 2004. As Young Sr. “use[d]” Young Jr. when he was a minor in

order to further the conspiracy, his actions warrant a two-level enhancement pursuant to U.S.S.G.

§ 3B1.4, and his objection is thus OVERRULED.

        G. Obstruction (Sr.)

        Young Sr. briefly argued at the December 22, 2010, hearing in this matter that he should not

be assigned a two-level enhancement for obstruction of justice based upon his trial testimony.

U.S.S.G. § 3C1.1 provides for a two-level enhancement if “(A) the defendant willfully obstructed

or impeded, or attempted to obstruct or impede, the administration of justice during the

investigation, prosecution, or sentencing of the instant offense of conviction, and (B) the obstructive


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conduct related to (i) the defendant’s offense of conviction; or (ii) a closely related offense.” It is

proper to apply this enhancement based on a defendant’s willful perjury at trial. United States v.

Dunnigan, 507 U.S. 97, 95-96 (1993); United States v. Hughes, 401 F.3d 540, 557-60 (4th Cir.

2005). The elements of perjury for the purposes of this enhancement are identical to those for the

substantive crime of perjury under federal law: “(1) false testimony (2) concerning a material matter

(3) given with the willful intent to deceive (rather than as a result of say, confusion, mistake, or

faulty memory).” United States v. Smith, 62 F.3d 641, 646 (4th Cir. 1995) (citing Dunnigan, 507

U.S. at 94).   The government must prove each of these elements by a preponderance of the

evidence. Id. Further, the Court itself must be convinced that the defendant perjured himself,

independent of the jury’s verdict. United States v. Montoya-Carmona, No. 05-4706, 2007 WL

28259, at *2 (4th Cir. Jan. 4, 2007) (citing Smith, 62 F.3d at 647 n.3).

        On March 5, 2010, Young Sr. testified on his own behalf at the jury trial in this matter. The

Government has offered the following non-exhaustive list of examples of Young Sr.’s willful and

materially false testimony:

       Young Sr. testified that he did not know many of the witnesses who testified that
       they had purchased equipment which was determined to be stolen and further that he
       did not sell stolen equipment to them. See, Trial Tr. 118-119, 155-56, March 5, 2010
       (did not know Bill Bishop and did not sell him equipment); 119 (did not know
       Herbert Harold and did not take equipment to Mr. Harold home); 120-21, 155-57
       (knew Dana Holcomb but did not sell him a Takeuchi excavator); 127, 159-61 (did
       not sell stolen trailer to David Morton). Additionally, Young Sr. denied involvement
       in the thefts of any equipment. See, Trial Tr. 139, March 5, 2010 (preparing for a
       camping trip in Florida making it physically impossible for him to have been present
       for a theft occurring in Morrow County, Ohio); 158-59 (did not steal Takeuchi
       excavator); 161-62 (did not steal Bobcat excavator with a trailer and conceal on
       property near his residence); 128-30, 169-71 (met Jay Summerfield only one time
       when Summerfield came to his house, did not steal equipment with him, did not have
       any criminal dealings with Summerfield); 148, 1169-70 (accusations of
       Summerfield, Hartsell Marcum, Bishop, Harold and Stump untrue).


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(Docket 166 at 12.) Any one of these examples could be sufficient to support a finding of perjury.

United States v. Sarihifard, 155 F.3d 301, 310 (4th Cir. 1998).

       As exemplified by these statements, the Court finds that Young Sr. was untruthful at trial

with respect to material matters in this case. First, Young Sr.’s testimony was patently false. As

noted by the Government, Young Sr. told a myriad of falsehoods on the stand concerning his

participation in the charged criminal activity as well as his dealings with other testifying witnesses.

Young Sr.’s testimony on these issues was directly contradicted by numerous credible witnesses as

well as the physical evidence presented at trial. Second, Young Sr.’s false testimony was material,

as it “concerned the heart of the case,” i.e., whether he was in fact guilty of the numerous counts

charged in the indictment. United States v. Sun, 278 F.3d 302, 314 (4th Cir. 2002). Finally, Young

Sr. testified falsely with the deliberate and willful intent to deceive. His testimony was carefully

crafted to influence the judgement of the jury. There is simply no possible way that Young Sr. could

have been mistaken or confused as to so many material facts bearing his guilt. As such, the Court

is convinced, “independent of the jury’s verdict,” that Young Sr. was a categorically untruthful

witness who perjured himself at his trial. Smith, 62 F.3d at 647 n.3. His obstructive conduct

warrants an upward adjustment by two levels pursuant to U.S.S.G. § 3C1.1, and the objection is

OVERRULED.

       H. Acceptance (Jr.)

       Young Jr. argues that he qualifies for the two-level acceptance of responsibility reduction.

U.S.S.G. § 3E1.1(a) reduces a defendant’s offense level by two if he “clearly demonstrates

acceptance of responsibility for his offense.” U.S.S.G. § 3E1.1(a). Notably, this adjustment is

generally inappropriate for “a defendant who puts the government to its burden of proof at trial by


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denying the essential factual elements of guilty, is convicted, and only then admits guilt and

remorse.” U.S.S.G. § 3E1.1 cmt. n.2. In “rare situations,” such as when a defendant exercises his

right to a trial in order to “assert and preserve issues that do not relate to factual guilt,” a defendant

who went to trial can still “clearly demonstrate an acceptance of responsibility for his criminal

conduct.” U.S.S.G. § 3E1.1 cmt. n.2; see also United States v. Dickerson, 114 F.3d 464, 470 (4th

Cir. 1997) (stating that defendant who demands trial is eligible for reduction “only when ‘a

defendant goes to trial to assert and preserve issues that do not relate to factual guilt’– such as a

constitutional challenge to a statutory provision, or a challenge to the application of the statute to

his conduct”). The defendant must prove that he qualifies for this reduction by a preponderance of

the evidence. United States v. Hall, No. 08-5211, 2009 WL 2196850, at *2 (4th Cir. July 24, 2009)

(citing United States v. Harris, 882 F.2d 902, 907 (4th Cir. 1989)); see also United States v. Nale,

101 F.3d 1000, 1005 (4th Cir.1996) (stating that “the defendant must prove by a preponderance of

the evidence that he has clearly recognized and affirmatively accepted personal responsibility for

his criminal conduct” in order to receive the reduction).

        Young Jr. does not argue that he went to trial to assert and preserve issues unrelated to

factual guilt; instead, he argues that he qualifies for the reduction because “[h]is behavior since trial

has been cooperative and in compliance with the requirements of the guidelines” as exemplified by

his cooperation with the presentence interview. (Docket 164 at 8.) Further, although the Probation

Office asserts that he has not demonstrated any remorse for his criminal conduct, Young Jr. argues

that it is sufficient that he “recognizes and accepts that the jury found him guilty on three counts.

. . . [and] has not denied his guilt since the trial.” (Docket 165 at 5, 7.) Cooperating with a

presentence interview, ceasing affirmative statements of innocence, and acknowledging the


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existence of a jury verdict are simply not enough to push Young Jr. into the “rare” category of

defendants who “clearly demonstrate an acceptance of responsibility” for their criminal conduct

despite being convicted at trial. U.S.S.G. § 3E1.1 cmt. n.2; see also United States v. Harriott, 976

F.2d 198, 202 (4th Cir. 1992) (reduction inappropriate for defendant that simply “agreed that he had

been convicted” and did not otherwise demonstrate an affirmative acceptance of responsibility). The

burden is upon the defendant to establish that he qualifies for this reduction, and this burden has

clearly not been carried here. The Court finds that Young Jr.’s extremely limited post-trial

cooperation does not warrant the two-level reduction for acceptance of responsibility pursuant to

U.S.S.G. § 3E1.1(a), and his objection is OVERRULED.

       I. Criminal History Objections

               i.      Government Objection (Sr. & Jr)

       Immediately prior to the December 22, 2010, hearing in this matter, the Government filed

an additional objection to the calculation of criminal history points for both Young Sr. and Young

Jr., to which Defendants concur. In the presentence report, Young Sr., and Young Jr. each received

criminal history points based upon a joint May 23, 2004, New York state conviction for two counts

of criminal possession of stolen property. Young Jr. was also given criminal history points for an

October 5, 2006, West Virginia state conviction for conspiracy to commit grand larceny. The

government argues that these convictions should be considered as relevant conduct for the instant

offense and not as criminal history points.

       Criminal history points are assigned for a defendant’s “prior sentence[s].” U.S.S.G. § 4A1.1.

A “prior sentence” is “a sentence imposed prior to sentencing on the instant offense, other than a

sentence for conduct that is part of the instant offense.” U.S.S.G. § 4A1.2, comment (n.1) (emphasis


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added). Relevant conduct is conduct that is “part of the instant offense.” U.S.S.G. § 4A1.2 cmt. n.1.

As described above, relevant conduct includes all acts committed by the defendant, “all reasonably

foreseeable acts and omissions of others in furtherance of jointly undertaken criminal activity,” and

any “[c]onduct that is part of the same course of conduct or part of a common scheme or plan as the

offense of conviction.” U.S.S.G. § 1B1.3(a)(1), (a)(2). To determine whether the prior convictions

are part of the instant offense in the form of relevant conduct, the Court must engage in a “fact-

specific inquiry.” United States v. McManus, 23 F.3d 878, 888 (4th Cir. 1994). Relevant factors for

the Court’s consideration include “whether the crimes were committed within a short period of time,

in close geographic proximity, directed at a common victim, solved during the same investigation,

had similar modus operandi, compelled by similar motives, and involved the same substantive

offense.” United States v. Zelaya, No. 96-4528, 1998 WL 386104, at *2 (4th Cir. June 19, 1998)

(per curiam) (citing United States v. Breckenridge, 93 F.3d 132, 138 (4th Cir.1996)).

       As the Government notes, “[i]n the instant case, among other things, the convictions and

conduct occurred during the charged conspiracy, were evidence presented at trial, were compelled

by the same motives, involved the same geographical locations, and involved the same substantive

offenses.” The description of the convictions in question provided in the PSRs confirms these

assertions. In light of the facts presented in the PSRs and the agreement of the parties, the Court

SUSTAINS the Government’s objection to Defendants’ criminal history calculation. As such,

Young Sr.’s and Young Jr.’s joint May 23, 2004, New York state conviction for two counts of

criminal possession of stolen property17 and Young Jr.’s October 5, 2006, West Virginia state


17
  The Court notes that Young Sr. acknowledged at the December 22, 2010, hearing in this matter
that his separate objection to the counting of this conviction in his criminal history score has now
                                                                                        (continued...)

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conviction for conspiracy to commit grand larceny should not contribute to either of their criminal

history scores and should instead be considered as relevant conduct for the instant offense.18

                  ii.   Young Jr. Objection

       Young Jr. argues that the PSR erred when it added two points to his criminal history score

for his November 10, 2004, conviction for a destruction of property offense committed when he was

seventeen years old. Although the “hard copy” of the record of this conviction is presumably

destroyed, the Probation Office utilized the presentence report compiled by Young Jr.’s state

probation officer as well as juvenile court records to verify his confinement. According to these

records, the destruction of property conviction resulted in Young Jr.’s confinement at the Industrial

Home for Youth for a period of 377 days, from December 10, 2004, to December 22, 2005. The

Probation Office assigned two criminal history points for this conviction pursuant to U.S.S.G. §

4A1.2(d)(2)(A), which covers offenses committed prior to age eighteen and adds two criminal

history points “for each adult or juvenile sentence to confinement of at least sixty days if the

defendant was released from such confinement within five years of his commencement of the instant

offense.” It is undisputed that Young Jr. was released from confinement within five years of his

commencement of the instant offense.19

17
 (...continued)
been mooted.
18
   The Government asserts, based upon police reports, that Young Jr.’s West Virginia state
conviction involved a 1997 Dozer valued at approximately $35,000, and although the value in the
joint New York convictions is undetermined, it is at least above the statutory offense value of
$3,000. These figures do not change the guideline loss calculation.
19
  The commentary for U.S.S.G. § 4A1.2 specifies that the term “commencement of the instant
offense” includes any relevant conduct. U.S.S.G. § 4A1.2, comment (n.8). The relevant conduct
for the offense of conviction ranges from at least June 2003 to October 2008, placing Young, Jr’s
                                                                                    (continued...)

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        The crux of Young Jr.’s argument seems to be that, as there is no physical record of the

original juvenile sentence imposed, no more than one point should be added under U.S.S.G. §

4A1.2(d)(2)(B) (which adds one criminal history point for each “juvenile sentence imposed within

five years of the defendant’s commencement of the instant offense not covered in [§

4A1.2(d)(2)(A)]”).20 The Court finds this argument without merit. The Court is permitted to rely

on information that has “sufficient indicia of reliability to support its probable accuracy.” U.S.S.G.

§ 6A1.3(a); see also United States v. Thompson, No. 98-4542, 1999 WL 236144, at *1 (4th Cir.

April 22, 1999) (per curiam) (not an abuse of discretion for the district court to rely on computerized

records of a conviction where hard copy had been destroyed). The Court finds that the information

collected by the Probation Office contains the requisite “indica of reliability.” From these records,

it is at least clear that Young Jr. served well over sixty days of a juvenile sentence for the destruction

of property offense, and as such, his sentence was certainly for a period of confinement of at least

sixty days. As Young Jr. received a juvenile sentence to confinement of at least sixty days for a

conviction incurred within five years of his commencement of the instant offense, he is properly



19
 (...continued)
2005 release date for the unrelated destruction of property offense well within the requisite five-year
period. See also U.S.S.G. § 4A1.2, comment (n.1) (“A sentence imposed after the defendant’s
commencement of the instant offense, but prior to sentencing on the instant offense, is a prior
sentence if it was for conduct other than conduct that was part of the instant offense.”).
20
   The Court draws this from Young Jr.’s written objections; at oral argument, counsel focused on
the fact that the destruction of property offense resulted in neither an adult conviction nor an adult
sentence, which is undisputed and irrelevant for the purposes for the purposes of adding two points
pursuant to U.S.S.G. § 4A1.2(d)(2)(A). Section 4A1.2(d) clearly applies here because the offense
was committed on June 27, 2004, when Young Jr. was seventeen years old, and the pertinent
subsection adds two points for each “adult or juvenile sentence to confinement of at least sixty days
if the defendant was released from such confinement within five years of the instant offense.”
U.S.S.G. § 4A1.2(d)(2)(A) (emphasis added).

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attributed two criminal history points pursuant to U.S.S.G. § 4A1.2(d)(2)(A). The objection is

OVERRULED.

       J. Restitution (Sr. & Jr.)

       Young Sr. and Young Jr. object to the amount of restitution suggested by the Probation

Office. The PSRs suggest that both Defendants be held jointly and severally liable for the restitution

amount that was ordered for co-conspirator Jay Summerfield, for a total figure of $11,002.38. The

only basis for Defendants’ objection is the argument that Summerfield’s testimony linking himself

to criminal conduct with the Youngs is unreliable. As evidenced by the jury verdict, the record at

trial, and the Court’s own findings, this argument is without merit. Accordingly, Defendants’

objection is OVERRULED. The issue of restitution will be further addressed at the sentencing

hearing in this matter.

                                        III. CONCLUSION

       For the foregoing reasons, Young Sr’s and Young Jr.’s objections to the fourteen-level

enhancement for an attributed loss value between $400,000 and $1,000,000 pursuant to U.S.S.G.

§ 2B1.1(b)(1)(H), the two level enhancement for ten or more victims pursuant to U.S.S.G. §

2B1.1(b)(2)(a)(i), and the two level enhancement for involvement in an organized scheme to steal

or receive stolen vehicles pursuant to U.S.S.G. § 2B1.1(b)(12), are OVERRULED. Young Sr.’s

objections to the two-level enhancement for being in the business of receiving and selling stolen

property pursuant to U.S.S.G. § 2B1.1(b)(4), the two-level aggravating role enhancement pursuant

to U.S.S.G. § 3B1.1(c), the two-level enhancement for use of a minor in connection with his offense

pursuant to U.S.S.G. § 3B1.4, and the two-level enhancement for obstruction of justice pursuant to

U.S.S.G. § 3C1.1, are OVERRULED. Young Jr.’s objections to not receiving an acceptance of


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responsibility reduction pursuant to U.S.S.G. § 3E1.1(a), and to the attribution of two criminal

history points pursuant to U.S.S.G. § 4A1.2(d)(2)(A), are OVERRULED. Young Sr.’s and Young

Jr.’s objection to the restitution recommendation is OVERRULED. The Government’s objection

to Young Sr.’s and Young Jr.’s criminal history calculation is SUSTAINED.

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to the Defendants and their

counsel, the United States Attorney, the United States Probation Office, and the United States

Marshal.

                                            ENTER:         March 11, 2011




                                            _________________________________________

                                            THOMAS E. JOHNSTON

                                            UNITED STATES DISTRICT JUDGE




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